
861 F.Supp. 150 (1994)
CERAMICA REGIOMONTANA, S.A., Ceramicas Y Pisos Industriales de Culiacan, S.A. de C.V., and Industrias Intercontinental, S.A., Plaintiffs,
v.
The UNITED STATES, Defendant.
Court No. 89-06-00323. Slip Op. 94-142.
United States Court of International Trade.
September 14, 1994.

JUDGMENT
MUSGRAVE, Judge.
This Court having received and reviewed the Department of Commerce, International Trade Administration ("Commerce") Results of Redetermination Pursuant to Court Remand Ceramica Regiomontana, S.A. et al. v. United States, 853 F.Supp. 431 (1994),
IT IS HEREBY ORDERED, ADJUDGED, and DECREED: that the Remand Results filed by Commerce are affirmed in all respects, and it is further
ORDERED, ADJUDGED, and DECREED: that since all other issues have been decided, this case is dismissed.
